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                             EXHIBIT 1
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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

 RAMON MORALES,
                    Plaintiff,
        v.
                                                        14 Civ. 4702 (LDW)(AYS)
 5 BROTHERS RESTAURANT, INC., OLD
 TOWN INC., and DENNIS D’ONOFRIO.

                    Defendants.

                         SETTLEMENT AGREEMENT AND RELEASE

          WHEREAS, Ramon Morales (hereinafter referred to as “Plaintiff”), commenced an
  action against 5 Brothers Restaurant, Inc., Old Town Inc., and Dennis D’Onofrio (collectively
  hereinafter referred to as “Defendants”) on August 7, 2014, in the United States District Court
  for the Eastern District of New York (hereinafter, the “Court”), bearing Case Number 14-CV-
  4702 (hereinafter, the “Action”) and alleging violations of the Fair Labor Standards Act
  (“FLSA”), New York Labor Law (“NYLL”), and related regulations;

          WHEREAS, Defendants denied, and continue to deny, all of Plantiff's material
  allegations;

          WHEREAS, Plaintiff and Defendants (collectively hereinafter referred to as the
  “Parties”) desire to fully and finally resolve and settle in full all claims that Plaintiff has, had, or
  may have against Defendants, by way of this Settlement Agreement and Release (“Agreement”);
  and

         WHEREAS, Plaintiff’s counsel of record in the Action and Defendants’ counsel have
  negotiated in good faith to reach a settlement that is acceptable to the Parties and that constitutes
  a reasonable compromise of Plaintiff’s claims, Defendants’ defenses, and the bona fide dispute
  between the Parties.

          NOW, THEREFORE, in consideration of the mutual promises and covenants set forth
  herein, the receipt and sufficiency of which is hereby acknowledged, and incorporating the above
  “Whereas” clauses in this Agreement, Plaintiff and Defendants agree as follows:

  1.     Payment/Consideration/Taxes.

         (a)     For and in consideration of the promises of Plaintiff set forth in this Agreement,
                 including but not limited to the Release (as defined below), and subject to the
                 receipt of an executed copy of this Agreement, an executed copy of the
                 Stipulation and Order of Dismissal in the form attached hereto as Exhibit A, and
                 an order by the Court approving the terms of the Agreement and dismissing the
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                    Action with prejudice, Defendants agree to pay Plaintiff the sum of Thirty Two
                    Thousand Five Hundred Dollars and Zero Cents ($32,500.00) (the “Settlement
                    Sum”) in full and final satisfaction of all issues between the Parties.

        (b)         The Settlement Sum shall be paid in two (2) equal installments of $16,250.00.
                    The first installment shall be due within seven (7) days after the Court dismisses
                    this Action with prejudice. The second installment shall be due within ninety (90)
                    days after the Court dismisses this Action with prejudice.

        (c)         The Settlement Sum will be apportioned as follows:

                i.     Two Thousand Three Hundred And Thirty Four Dollars and Fifty Three Cents
                       ($2,334.53) will be paid to Joseph & Kirschenbaum LLP (“JK”) for the
                       expenses it incurred in litigating this case;

              ii.      Ten Thousand and Fifty Five Dollars and Fifteen Cents ($10,055.15) will be
                       paid to JK as and for its attorneys’ fees in litigating this case;

              iii.     Twenty Thousand and One Hundred and Ten Dollars and Thirty Two Cents
                       ($20,110.32) will be paid to Plaintiff.

                    Each of the two installments comprising the Settlement Sum shall be broken
                    down as follows:

                                                Installment 1         Installment 2

                              (x) JK Costs        $1,167.26            $1,167.27

                              (y) JK Fees         $5,027.57            $5,027.57

                              (z) Plaintiff      $10,055.17            $10,055.16
                                     Total      $16,250.00           $16,250.00

        (d)         Settlement Sum installment payments shall be made and delivered in one check to
                    Joseph & Kirschenbaum LLP as attorneys for Ramon Morales at 32 Broadway,
                    Suite 601, New York, NY 10004.

        (e)         JK shall be solely responsible for distributing Plaintiff’s shares of the Settlement
                    Sum. The payment of the Settlement Sum to JK as provided herein shall relieve
                    Defendants of any further liability to Plaintiff for the Settlement Sum.

        (f)         The parties agree that all payments provided under this Agreement are properly
                    reportable on IRS form 1099 and not on IRS form W-2 and that no amounts are
                    properly withheld therefrom. Defendants do not guarantee tax treatment of any
                    payments or benefits under this Settlement, including without limitation under
                    the Internal Revenue Code, (“Code”) federal, state, local or foreign tax laws and
                    regulations. Plaintiff agrees that he has not relied on any advice from Defendants

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              or their attorneys concerning the tax consequences of the payments made pursuant
              to this Agreement, but are relying on their own judgment and the advice of their
              own counsel in this matter. Plaintiff expressly acknowledges and warrants that he
              is, and shall be, responsible for all federal, state, and local tax liabilities that may
              result from the payments under this Agreement, and Plaintiff hereby warrants that
              Defendants shall bear no responsibility for any such tax liabilities. Plaintiff
              further agrees to hold Defendants harmless to the full extent of any such
              liabilities, payments, or costs, including taxes, interest, and penalties that may be
              assessed against or incurred by Defendants resulting from that Plaintiff’s failure
              to pay taxes owed for payments under this Agreement. Plaintiff agrees that,
              should any tax liability arise or accrue to Plaintiff under local, state, or federal tax
              law as a result of Plaintiff’s failure to pay taxes for payments made under this
              Agreement, that Plaintiff will pay any and all such finally determined obligations
              without seeking indemnity or reimbursement from Defendants. Plaintiff further
              agrees to indemnify Defendants for any attorneys' fees and costs incurred in
              defending any claim of tax liability and/or in pursuing any action against Plaintiff
              to recover payments made to the IRS.

        (g)   Defendant shall issue to plaintiff IRS form 1099 with respect to Settlement Sum.
              Plaintiff assumes full responsibility for any and all federal, state, and local taxes
              or contributions that may hereafter be imposed or required to be paid by
              Defendants under any federal, state, or local law of any kind, with respect to the
              monies paid by Defendants as IRS Form 1099 payments to Plaintiffs pursuant to
              this Agreement. Although the Parties believe, in good faith, that the tax treatment
              of the Settlement Payment is proper and in compliance with applicable IRS
              regulations, if, notwithstanding such belief, the IRS or any other federal, state or
              local government, administrative agency, or court determines that any Plaintiff
              and/or any Defendant is liable for any failure to pay federal, state or local income
              or employment taxes with respect to the Settlement Payment, or liable for interest
              or penalties related thereto, then Plaintiff agrees to indemnify and hold
              Defendants harmless for any such liability and any and all attorneys’ fees incurred
              in connection therewith.

        (h)   The Parties acknowledge and agree that the Settlement Sum includes but is not
              limited to attorneys’ fees, costs, penalties, interest, and liquidated damages and
              that the Settlement Sum is properly reportable on IRS form 1099.

        (i)   Plaintiff and Joseph & Kirschenbaum LLP, the attorneys for Plaintiff, represent
              and warrant that: they have not been retained by any other individuals to assert
              any claims against Defendants that arose prior to the date of this Agreement and
              that are the same as the claims in whole or in part that have been released
              pursuant this Agreement; and they know of no individuals who intend to assert
              such claims.

        (j)   In the event of any breach by plaintiff of Paragraph 5 of this Agreement, he shall
              promptly return the Settlement Sum or such portion thereof as has been paid at the


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                 time. Defendant shall have no further payment obligation hereunder in the event
                 of such breach.




   2.    Consent Judgment.

          Simultaneously with the execution of this Agreement, Defendants shall execute a consent
  judgment in the form attached hereto as Exhibit B. The consent judgment must bear original
  signatures, as opposed to a copied or electronic signature. An unexecuted copy of the consent
  judgment shall be submitted with this Agreement to the Court for review. Defendants’ counsel
  shall hold the executed copy of the consent judgment in escrow unless and until the Court
  approves this Agreement and dismisses the Action with prejudice. Within five (5) business days
  following the dismissal of the Action with prejudice, Defendants’ counsel will provide Plaintiffs’
  counsel with the executed consent judgment. Plaintiff’s counsel shall hold the consent judgment
  in escrow subject to the following terms.

          Plaintiff’s counsel shall not file the consent judgment in any court unless and until
  Defendants both (a) fail to make a payment installment and (b) fail to cure the default after
  notice is given and the time to cure has expired, as set forth below. In the event that Defendants
  are in default in the payment of any of the installments under Section 1 of this Agreement,
  Plaintiff shall provide ten (10) calendar days’ notice to Defendants via mail and e-mail (c/o Eric
  J. Bressler, Wickham, Bressler & Geasa, P.C. at 13015 Main Road, P.O. Box 1424, Mattituck,
  New York 11952, ebressler@wbglawyers.com) of their intent to file the consent judgment with
  the Court for judgment to be entered against Defendants in the amount of Thirty Two Thousand
  Five Hundred Dollars ($32,500.00), less any settlement payment(s) made to date. If Defendants
  do not cure the default within ten (10) days of the notice. Plaintiff may file the consent judgment
  with the Court thereafter and obtain a money judgment therein as provided above. Upon full
  payment of the Settlement Sum, the Consent Judgment shall be rendered null and void, and
  Plaintiff’s counsel shall return the original copy of the consent judgment to Defendants’ counsel
  and shall not retain any copies thereof.

  3.     Dismissal of Pending Action.

         (a)     For and in consideration of the promises outlined in this Agreement, the
         sufficiency of which Plaintiff acknowledges, Plaintiff agrees: (1) to dismiss with
         prejudice, or cause to be dismissed with prejudice, the Pending Action; (2) not to re-file
         the causes of action asserted in the Pending Action or any other employment-related
         causes of action against Defendants; and (3) not to institute any action against any
         Defendants in any court or other forum based on allegations or claims existing prior to
         the date of this Agreement that are released as set forth in this Agreement. The Parties
         expressly authorize their counsel to submit any papers to the Court that are necessary to
         effectuate the dismissal of the Pending Action and/or a full release of Plaintiff's claims as
         specified herein.



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         (b) In the event any class or collective action is brought against Defendants which
         includes or may include claims released by Plaintiff as part of this Settlement Agreement,
         upon learning of Plaintiff's inclusion he immediately shall withdraw therefrom without
         obtaining or accepting any relief or recovery or will be in breach hereof.

         (c) In the event that, for any reason, any complaint, grievance, suit, action, charge, claim
         or proceeding relative to Plaintiff's wage and hour claims existing as of the date of the
         execution of this Agreement is not wholly and finally dismissed with prejudice, (i)
         Plaintiff authorizes Defendants to take all actions needed to obtain dismissal thereof; (ii)
         Plaintiff shall not oppose, testify, provide documents or otherwise participate or permit
         others to participate on Plaintiff's behalf in any litigation or investigation arising
         therefrom, except as compelled by subpoena or law; (iii) Plaintiff shall indemnify and
         shall hold Defendants harmless against and will not obtain or accept any recovery or
         relief in or from any such proceeding; and, (iv) Plaintiff shall reimburse Defendants for
         the legal fees and costs incurred defending any claim, action or proceeding relative to
         Plaintiff's wage and hour claims initiated by or on behalf of Plaintiff against Defendants,
         as well as any claim, action or proceeding relative to Plaintiff's wage and hour claims
         initiated against Defendants by a third-party for the direct or indirect benefit of Plaintiff.
         Plaintiff reports that there are no such complaints, grievances, suits, actions, charges,
         claims or proceedings existing.

  4.     Mutual Release of Employment-Related Claims.

           (a) For and in consideration of the promises of Defendants set forth in this Agreement,
  including the Settlement Sum, and other good and valuable consideration, the receipt and
  sufficiency of which is hereby acknowledged, Plaintiff hereby fully and forever releases,
  relieves, waives, relinquishes, and discharges Defendants and Defendants’ parents (including but
  not limited to any grandparent entities, great grandparent entities, and so on), subsidiaries
  (including but not limited to any grandchild entities, great grandchild entities, and so on),
  affiliates, divisions, joint ventures, related entities and persons, successors, assigns, heirs,
  executors, administrators, and attorneys, and all of their past and present directors, officers,
  partners, shareholders, members, representatives, agents, attorneys, insurers or insurance carriers,
  owners, employees, and any fiduciaries of any employee benefit plan or policy, in both their
  individual and representative capacities “Releasees” from all claims, charges, actions or causes
  of action which they had, now have or hereafter may have against Defendants, arising out of
  Plaintiff's employment with any of the Defendants, and/or the termination of that employment
  from the beginning of the world to the date of the Agreement, including: (i) claims under federal,
  state or local laws, statutes, constitutions, regulations, rules, ordinances or orders, including, but
  not limited to, claims under the New York Labor Law, the Wage Theft Prevention Act, the New
  York Hospitality Wage Order, New York Order for Miscellaneous Industries and Occupations,
  the New York Restaurant Wage Order, the Fair Labor Standards Act, Title VII of the Civil
  Rights Act of 1964, the Civil Rights Act of 1866, the Age Discrimination in Employment Act,
  the Americans with Disabilities Act, the Employee Retirement Income Security Act, the Equal
  Pay Act, the Immigration Reform and Control Act, the Consolidated Omnibus Budget
  Reconciliation Act, the Fair Credit Reporting Act, the Sarbanes Oxley Act, the Occupational
  Safety and Health Act, the Family and Medical Leave Act, the New York Corrections Law, the
  New York State Human Rights Law, the New York City Human Rights Law, each as amended,

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  or any other federal, state, and/or local law; (ii) claims for minimum wages, overtime,
  commissions, and/or unpaid wages, compensation, and/or other remuneration, whether based on
  common law or otherwise, which specifically includes all claims for unpaid overtime, improper
  deductions, travel time, spread of hours pay, bonuses, penalties, expense reimbursements,
  gratuities, fees, tip credits, tip allowances, service charges, retained gratuities, call-in pay, tools-
  of-the-trade, uniform pay, and/or meal credits, and retaliation during Plaintiff's employment with
  any of the Defendants and/or other compensation, wages, or benefits including, but not limited
  to, life insurance, accidental death and disability insurance, sick leave, or other employer
  provided plan or program, distributions of income or profit, vacation or other leave time,
  retirement, pension, the use of information obtained by Defendants as a result of the offering of
  group health insurance coverage and/or any related penalties, damages, liquidated damages and
  attorneys’ fees under federal, state and/or local law; and (iii) any other claim, whether for monies
  owed, reimbursement, attorneys’ fees, litigation costs, damages, constructive discharge,
  wrongful discharge, defamation, fraud, misrepresentation, or otherwise, arising prior to or at the
  time of the execution of the Agreement, including, but not limited to, all claims asserted in the
  Pending Action.

         (b) Defendants release Plaintiff from any and all claims, charges, actions, and causes of
  action of any kind or nature that Defendants once had, could have had, or now have arising out
  of Plaintiff's employment with Defendants from the beginning of the world to the date of the
  Agreement.

  5.     Mutual Non-Disparagement.

           The parties will not disparage each other, or issue any communication, written or
  otherwise, that reflects adversely on or encourages any adverse action against each other, except
  if testifying truthfully under oath pursuant to any lawful court order or subpoena or otherwise
  responding to or providing disclosures required by law. This includes any statement to or
  response to an inquiry by any member of the press or media whether written, verbal, electronic,
  or otherwise. Nothing herein is meant to prohibit Plaintiff or Defendants from making truthful
  statements regarding their experience in litigating this case.

  6.     Full relief.

          Plaintiff agrees that if he commences any action with respect to claims released herein, or
  seeks to participate in any such action, whether as a member of a class action, collective action
  or otherwise for the claims released herein, this Agreement may be used by Defendants as
  conclusive evidence that any such claims have been voluntarily and fully released, and Plaintiff
  shall reimburse Defendants for all legal fees and expenses incurred in defending such claims
  instituted by Plaintiff or with his consent or ratification, and in obtaining dismissal thereof.

  7.     Non-Admission.

          This Agreement does not constitute an admission that Defendants have violated any law,
  committed any tort, breached any agreement, or committed any wrongdoing whatsoever, and
  Plaintiff expressly acknowledges that Defendants have denied and continue to deny any


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  wrongdoing arising out of Plaintiff’s employment and separation thereof as well as any liability
  to Plaintiff or to anyone else. Neither this Agreement nor any of its terms shall be admissible in
  any proceeding other than in an application seeking Court approval of this Agreement and/or the
  final dismissal of the Action, or in a proceeding to enforce the terms of this Agreement or as set
  forth in paragraph 6 above.

  8.     No Reemployment.

          Plaintiff agrees to relinquish and hereby does relinquish any and all rights he may have to
  either directly or indirectly: (i) be employed by, (ii) be assigned to, (iii) work for, (iv) seek
  employment with or apply to, (v) accept employment with, or (vi) provide services in exchange
  for compensation in any capacity to (including but not limited to as an employee, independent
  contractor, consultant or temporary employee) Defendants or any of their affiliates, parents and
  subsidiaries. Plaintiff agrees that he will not seek, apply for, or accept any employment or
  assignment to which he has relinquished any rights, and that in the event he inadvertently seeks,
  applies for, or accepts any employment or assignment to which he has relinquished any rights he
  will immediately withdraw, forego, leave and/or voluntarily terminate such inquiry, application,
  employment and/or assignment. Defendants or any of their affiliates, parents and subsidiaries
  may also immediately terminate any employment or assignment to which Plaintiff has
  relinquished any rights at any time. Plaintiff agrees and understands that this provision is
  intended to protect the Defendants or any of their affiliates, parents and subsidiaries from
  allegations of retaliation.

  9.     Communications with the Media.

          Plaintiff, Plaintiff's Counsel, Defendants, and Defendants’ Counsel agree that they will
  not issue, send or post, or cause to be issued, sent or posted, any press release, posting, e-mail, or
  other verbal or written communication to any electronic, print, or digital media, blogs, or social
  networking sites, including but not limited to Facebook, LinkedIn and Twitter (collectively, the
  “Media”) regarding the Pending Action, the Parties’ settlement discussions, the existence and/or
  terms of this Agreement, and/or the facts and events leading up to same. If contacted by any
  member of the Media or any other individuals through any of the Media, Plaintiff and/or
  Defendants and their Counsel will simply state that the Pending Action has been resolved to the
  satisfaction of the parties. Notwithstanding the terms of this paragraph, the Parties shall be free
  to make whatever disclosures they deem appropriate to their attorneys and financial and tax
  advisors, as well as, in Defendants’ case, to its members, officers, shareholders, directors, and/or
  other relevant stake holders as well as their attorneys and financial and tax advisors, with respect
  to this litigation provided those disclosures are truthful, and no derogatory statements are made
  about Plaintiff's Counsel, Defendants’ Counsel, the Plaintiff, and/or the Defendants. Nothing
  herein shall prevent Plaintiff's Counsel from communicating with Plaintiff or Plaintiff and/or
  Defendants from discussing their experiences in litigating this case with third-parties other than
  the Media, subject to the provisions of paragraph 5 hereof.

  10.    Attorneys’ Fees.




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          Except as otherwise specifically set forth herein, Plaintiff and Defendants expressly agree
  to bear their own attorneys’ fees, costs and disbursements incurred in this litigation, including the
  fees, costs and disbursements incurred in negotiating and preparing this Agreement and obtaining
  the dismissal of the Action with prejudice. No party shall be responsible or liable for the
  payment of any attorneys’ fees for the other party except as set forth herein.
  11.     Important Acknowledgments.

          Plaintiff acknowledges that he was represented by counsel of his choosing throughout the
  negotiation and the execution of the Agreement. Plaintiff further represents that he had
  sufficient opportunity to consider this Agreement, has reviewed the terms of this Agreement, had
  the opportunity to confer with their legal counsel, Joseph & Kirschenbaum LLP, in order to
  obtain advice with respect to the terms of this Agreement, had the opportunity to consider his
  legal counsel’s advice with respect to the Agreement, fully understands the terms of the
  Agreement, is entering into this Agreement of his own free will and accord after consultation
  with legal counsel, and is signing the Agreement knowingly and voluntarily.

          It is understood and agreed that the Settlement Sum and the other good and valuable
  consideration provided for herein are not a mere recital but are the consideration for this
  Agreement and all terms herein, including the full and final release effected thereby. The Parties
  represent and warrant that this Agreement, including the Settlement Sum to be received by
  Plaintiff and JK and referenced herein, is a fair and reasonable resolution of a bona fide dispute
  over provisions of the Fair Labor Standards Act, the New York Labor Law, and/or time worked.
  The Parties represent and warrant that the attorneys’ fees portion of the Settlement Sum is fair
  and reasonable.

  12.    Oral Modifications Prohibited.

          This Agreement represents the entire agreement between Plaintiffs and Defendants with
  respect to the Action. This Agreement cannot be amended, supplemented, or modified nor may
  any provision be waived, except by a written instrument executed by or on behalf of the party
  against whom enforcement of any such amendment, supplement, modification or waiver is
  sought.

  13.    Choice of Law/Venue.

          This Agreement shall be governed by the law of the State of New York, without regard to
  the choice-of-law or conflicts-of-law principles of any jurisdiction. Venue for any dispute
  between the Parties shall lie in the United States District Court for the Eastern District of New
  York. However, if the Court should refuse or decline to accept jurisdiction for any reason, the
  Parties agree that this Agreement may be enforced in a court of competent jurisdiction located in
  Suffolk County, New York.

  14.    Stipulation of Dismissal and Settlement Approval.

          For and in consideration of the promises of Defendants set forth in this Agreement, the
  receipt and sufficiency of which Plaintiff hereby acknowledges, Plaintiff agrees: (1) to dismiss,


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   or cause to be dismissed, the Action with prejudice; and (2) not to re-file the causes of action
   asserted in the Action or any other causes of action against Defendants arising prior to the
   Effective Date of this Agreement (as defined below). To that end, the Parties shall sign the
   Stipulation and Order of Dismissal annexed hereto as Exhibit A. Upon execution of this
   Agreement, Plaintiffs shall submit the Agreement together with the Stipulation and Order of
   Dismissal to the Court for its inspection and approval as a fair and reasonable resolution of a
   bona fide dispute over provisions of the FLSA and NYLL.

   15.    Effective Date.

           This Agreement shall become effective only and immediately upon execution of all
   Parties and the approval of the Court and subject to the provisions of paragraph 21 hereof.

   16.    Headings.

         The headings used herein are for reference only and shall not in any way affect the
   meaning or interpretation of this Agreement.

   17. Successors and Assigns.

           This Agreement will apply to, be binding in all respects upon and inure to the benefit of
   the respective successors and assigns of the Parties and the Releasees, including their personal
   representatives, administrators, executors, heirs and others taking from them; provided, however,
   that no party may delegate or avoid any of its liabilities, obligations or responsibilities under this
   Agreement.

   18.    Counterparts.

          This Agreement may be executed on multiple counterparts, each of which shall be
   considered an original but all of which shall constitute one (1) Agreement.

   19.    Facsimile and Email Signatures.

          Any party may execute this Agreement by signing on the designated signature block
   below and transmitting or causing to be transmitted that signature page via facsimile or email to
   counsel for the other party. Any signature made and transmitted by facsimile or email for the
   purpose of executing this Agreement shall be deemed an original signature for purposes of this
   Agreement and shall be binding upon the party whose counsel transmits the signature page by
   facsimile or email. This Section 13 does not apply to the signatures on the consent judgment,
   which must bear original signatures and not facsimile or e-mailed signatures.

   20.    Severability.

          The invalidity or unenforceability of any provision(s) of this Agreement (other than
   Section 3) shall not affect the validity or enforceability of any other provision of this Agreement,
   which shall remain in full force and effect unless such invalidity or unenforceability shall cause
   the agreement to fail on one or more of its essential purposes. In the event that a court of

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   competent jurisdiction determines that Section 3 is invalid or unenforceable, the Parties shall be
   returned to their respective statuses as of the date immediately prior to the Effective Date of this
   Agreement, and the Parties shall proceed in all respects as if the Agreement had not been
   executed.

   21.    Status of Settlement if Case Is Not Ultimately Dismissed.

          In the event that the Court fails to dismiss the Action with prejudice as contemplated by
   this Agreement, this Agreement shall be null and void ab initio. In such case, the Parties shall be
   returned to their respective statuses as of the date immediately prior to the Effective Date of this
   Agreement, and the Parties shall proceed in all respects as if the Agreement had not been
   executed.

   22.    Interpretation/Jointly Drafted Agreement.

           The language of all parts of this Agreement shall in all cases be construed as a whole,
   according to its fair meaning, and not strictly for or against any of the Parties. This Agreement has
   been negotiated by and between the Parties’ respective attorneys; it shall be deemed to have been
   jointly drafted and shall not be construed for or against any party because that party drafted the
   Agreement or requested the inclusion of any particular provision.

   23.    No Other Representations or Agreements; Entire Agreement.

           Each party acknowledges that, except as expressly set forth herein, no representations of
   any kind or character have been made by any other party or parties, agents, representatives, or
   attorneys to induce the execution of this Agreement. This Agreement constitutes a single
   integrated contract expressing the entire agreement of the Parties hereto. There is no other
   agreement or understanding, written or oral, expressed or implied, among the Parties hereto
   concerning the subject matter hereof, except the agreements set forth in this Agreement. This
   Agreement constitutes and contains the entire agreement among the Parties and supersedes and
   replaces all prior negotiations and agreements, proposed or otherwise, written or oral, concerning
   the subject matter hereof. This Agreement is an integrated document.

   24.    Knowing and Voluntary Release of Claims.

          Plaintiff acknowledges that:

          A.       he has carefully read and fully understand all of the provisions of this Agreement;

          B.       this agreement was translated to him in his native language;

         C.      he understands that all of the consideration that he is receiving for signing this
   Agreement is described in the Agreement itself, and no other promises or representations have
   been made to cause them to sign it;




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                                  Exhibit A
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                                  Exhibit B




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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK

   RAMON MORALES,
                     Plaintiff,
          v.
                                                       14 Civ. 4702 (LDW)(AYS)
   5 BROTHERS RESTAURANT, INC., OLD
   TOWN INC., and DENNIS D’ONOFRIO.                    CONSENT JUDGEMENT

                     Defendants.


          This Stipulation and Consent Judgment is entered into by and between Ramon
   Morales (hereinafter, “Plaintiff”) and 5 Brothers Restaurant, Inc., Old Town Inc., and Dennis
   D’Onofrio (collectively hereinafter referred to as “Defendants,” and collectively with Plaintiff
   hereinafter referred to as the “Parties”), subject to approval by the Court.

          WHEREAS, Plaintiff brought this action bearing Case Number 14-CV-4702
   (hereinafter, the “Action”) and alleging violations of the Fair Labor Standards Act (“FLSA”),
   New York Labor Law (“NYLL”), and related regulations by Defendants; and

          WHEREAS, Defendants were properly served with the Complaint in this Action and
   have not contested the jurisdiction of this Court; and

          WHEREAS, Plaintiff and Defendants negotiated a resolution of the Action, as
   memorialized in the Parties’ Settlement Agreement, by agreeing that Plaintiff would dismiss the
   Action with prejudice and release certain claims in exchange and in consideration for payment
   by Defendants to Plaintiffs in the aggregate amount of $32,500.00, without any admission of
   wrongdoing or liability by Defendants;

           WHEREAS, Plaintiff’s counsel agreed to hold this Stipulation and Consent Judgment in
   escrow and not file it with any court unless and until Defendants failed to make a payment and,
   further, failed to cure the default upon reasonable notice as described below;

           WHEREAS, in the event that Defendants are in default of the payment of any
   installments due under the Settlement Agreement, the Settlement Agreement provides that
   Plaintiff shall provide Defendants with ten (10) calendar days’ notice via email and mail of their
   intent to file this Stipulation and Consent Judgment with the Court, and Defendants shall be
   afforded the opportunity to cure the default;

          WHEREAS, Defendants have defaulted under the payment terms of the Settlement
   Agreement, Plaintiff has provided the requisite notice specified above and in the Settlement
   Agreement, and Defendants have not cured the default within ten (10) days of receiving notice
   from Plaintiff’s counsel of record in this Action;
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